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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                         IN THE UNITED STATES DISTRICT COURT                               February 05, 2016
                                                                                           David J. Bradley, Clerk
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §    CRIMINAL ACTION NO. H-11-722
                                                  §
                                                  §
ABRAHAM MOSES FISCH, et al.                       §

                                              ORDER

       Lloyd Glen Williams moves for release pending appeal under 18 U.S.C. § 3143(b). (Docket

Entry No. 537). “[A] person who has been found guilty of an offense and sentenced to a term of

imprisonment, and who has filed an appeal or a petition for a writ of certiorari,” must “be detained”

unless the court finds

       (A)     by clear and convincing evidence that the person is not likely to flee or pose
               a danger to the safety of any other person or the community if released under
               section 3142(b) or (c) of this title; and

       (B)     that the appeal is not for the purpose of delay and raises a substantial question
               of law or fact likely to result in--
                  (i)     reversal,
                  (ii)    an order for a new trial,
                  (iii) a sentence that does not include a term of imprisonment, or
                  (iv)    a reduced sentence to a term of imprisonment less than the total
                          of the time already served plus the expected duration of the
                          appeal process.

18 U.S.C. § 3143(b)(1). The defendant has the burden to establish a right to release pending appeal.

United States v. Valera-Elizondo, 761 F.2d 1020, 1025 (5th Cir. 1985). For substantially the same

reasons stated on the record at the March 6 and March 30, 2015 hearings on the motion to withdraw

the guilty plea, (Docket Entry Nos. 279, 291, 336), and the October 27, 2015 sentencing, (Docket


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Entry Nos. 466, 485), the court concludes that Williams has not shown that he is entitled to the relief

he seeks under the § 3143(b)(1) factors.

       The motion for release pending appeal is denied. (Docket Entry No. 537).

               SIGNED on February 5, 2016, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge




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